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                     EXHIBIT 8
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                                              ACCOUNT CONTROL AGREEMENT

                                                              among

                                                 Climate United Fund, as PLEDGOR

                              United States Environmental Protection Agency, as SECURED PARTY

                                                                and

                                                     CITIBANK, N.A., as BANK


                                                    Dated as of November 1, 2024
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                         THIS ACCOUNT CONTROL AGREEMENT (this “Agreement”), dated as of
                 November 1, 2024, by and among Climate United Fund, a Delaware 501(c)(3) nonstock
                 corporation (the “Pledgor”), the United States Environmental Protection Agency, an agency of the
                 United States Government (the “Secured Party”) and Citibank, N.A., a national banking
                 association organized and existing under the laws of the United States of America (“Citibank”) and
                 acting through its Agency & Trust business solely in its capacity as bank under this Agreement,
                 and any successors appointed pursuant to the terms hereof (Citibank in such capacity, the “Bank”).

                         WHEREAS, the Pledgor and the Secured Party have entered into that certain federal
                 financial assistance agreement, as identified in Addendum 1, (the “Grant Agreement”) pursuant
                 to which the Pledgor has granted the Secured Party a security interest in the accounts as identified
                 in Addendum 1 established and maintained by the Bank for the Pledgor (the “Accounts”).

                         WHEREAS, the Bank has been designated and authorized to act as a financial agent of
                 the United States pursuant to the authority of the U.S. Department of the Treasury under 12 U.S.C.
                 §§ 90 and 265.

                          WHEREAS, the parties wish that the Bank enter into this Agreement in order to provide
                 for the “control” (as defined in Section 9-104(a) of the Uniform Commercial Code in effect in the
                 State of New York (“UCC”), in the case of a deposit account, or Section 8-106 of the UCC, in the
                 case of a security account) of the accounts as a means to perfect the security interest of the Secured
                 Party.

                          WHEREAS, the Pledgor and the Secured Party have agreed that the terms and conditions
                 entitled “Deposit Account at Financial Agent” in the Grant Agreement indicate the conditions under
                 which the Secured Party may exercise its right of control herein, and such conditions will be defined
                 as “default” for the purposes of this Agreement.

                          WHEREAS, capitalized terms used herein without definition and that are defined in Article
                 8 or Article 9 of the UCC as adopted in the State of New York shall have the respective meanings set
                 forth therein.

                         NOW, THEREFORE, for good and valuable consideration, the receipt and adequacy of
                 which is hereby irrevocably acknowledged, the parties hereto agree as follows:

                         1.      The Accounts. The Pledgor and the Bank represent and warrant to, and agree
                 with the Secured Party that:

                         (a)      The Bank maintains the Accounts for the Pledgor, and all property (including,
                 without limitation, all funds and financial assets) held by the Bank for the accounts of the Pledgor
                 are, and will continue to be, credited to the Accounts in accordance with instructions given by the
                 Pledgor (unless otherwise provided herein).

                          (b)     To the extent that cash is credited to the Accounts, the Accounts are a deposit
                 account; and to the extent that financial assets (other than cash) are credited to the Accounts, the
                 Accounts are a securities account. The Bank is (i) the bank with which the Accounts are maintained
                 and (ii) the securities intermediary with respect to financial assets held in the Accounts. The
                 Pledgor is (A) the Bank’s customer with respect to the Accounts and (B) the entitlement holder
                 with respect to all financial assets credited from time to time to the Accounts.

                          (c)     Notwithstanding any other agreement to the contrary, the Bank’s jurisdiction with
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                 respect to the Accounts for purposes of the UCC is, and will continue to be for so long as the
                 Secured Party’s security interest shall be in effect, the State of New York.

                         (d)      The Pledgor and the Bank do not know of any claim to or interest in the Accounts
                 or any property (including, without limitation, funds and financial assets) credited to the Accounts,
                 except for claims and interests of the parties referred to in this Agreement.

                          2.      Control over Accounts.

                 The Bank shall comply with all instructions, notifications, and entitlement orders the Bank receives
                 directing the disposition of funds and financial assets in the Accounts including, without limitation,
                 directions to distribute proceeds of any such transfer or redemption of interest or dividends on
                 financial assets in the Accounts, substantially in the form attached hereto as Exhibit B (“Account
                 Direction”), originated by the Pledgor, until the time that that Bank receives a notice, substantially
                 in the form attached hereto as Exhibit A (a “Notice of Exclusive Control”) from the Secured Party
                 that the Secured Party is exercising its right to exclusive control over an Account, and after such
                 time that the Bank receives a Notice of Exclusive Control, the Secured Party for such Account,
                 without further consent by the Pledgor.

                         3.       Priority of Secured Party’s Security Interest. The Bank subordinates in favor
                 of the Secured Party any interest, lien or right of setoff it may have, now or in the future, against
                 the Accounts or assets in the Accounts; provided; however, that, subject to the foregoing, the Bank
                 may set off all amounts due to it in respect of its fees and expenses (including, without limitation,
                 the payment of any legal fees or expenses) or any amounts payable pursuant to Section 4 hereof.

                          4.      Investment of Funds.

                          (a)     The Bank shall deposit the assets in non-interest bearing Accounts and invest the
                 assets in the Accounts consistent with the instructions provided by the Pledgor, in Addendum 1.
                 The Pledgor’s instructions will be in accordance with the Grant Agreement, provided that the Bank
                 is not responsible for verifying whether the Pledgor’s instructions are in compliance with the Grant
                 Agreement. The Bank shall invest such assets in the Accounts on the date of deposit provided that
                 such assets are received on or before 11:00 a.m. New York City time. Any assets received after
                 11:00 a.m. New York City time shall be treated as if received on the following Business Day. For
                 purposes of this Agreement, “Business Day” shall mean any day that the Bank is open for business.

                          (b)       The Bank is hereby authorized and directed to sell or redeem any such investments
                 as it deems necessary to make any payments or distributions required under this Agreement. The
                 Bank shall have no responsibility or liability for any loss in the value of any investment made
                 pursuant to this Agreement, or for any loss, cost or penalty resulting from any sale or liquidation
                 of the assets in the Account. The Bank is hereby authorized to execute purchases and sales of
                 investments through the facilities of its own trading or capital markets operations or those of any
                 affiliated entity. The Bank does not have a duty nor will it undertake any duty to provide investment
                 advice.

                         (c)    The Bank shall transfer any earnings or proceeds received on or distributions of
                 earnings or proceeds from the assets in the Accounts to the Program Income from Operations
                 Account on a monthly basis.

                          5.      Tax Matters.



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                         (a)      The Pledgor and the Secured Party agree that, unless and until the Grant
                 Agreement is terminated, any earnings or proceeds received on or distributions of earnings or
                 proceeds from the assets in the Accounts shall be treated as the income of the Pledgor and shall be
                 reported on an annual basis on United States Internal Revenue Service (“IRS”) Form 1099-DIV,
                 as required pursuant to the Internal Revenue Code of 1986, as amended (the “Code”) and the
                 regulations there under. Principal payments are not reportable to any payee hereunder. No earnings
                 or proceeds received on or distributions of earnings or proceeds from the assets in the Accounts, or
                 principal payments from the Accounts, are reportable to the Secured Party. The Pledgor, the
                 Secured Party and the Bank agree that the Bank will not be responsible for providing tax reporting
                 and withholding for payments that are for compensation for services performed by an employee or
                 independent contractor.

                         (b)      The Pledgor and the Secured Party shall upon the execution of this Agreement
                 provide the Bank with a duly completed and properly executed IRS Form W-9 or applicable IRS
                 Form W-8, in the case of a non-U.S. person, for each payee, together with any other documentation
                 and information requested by the Bank in connection with the Bank’s tax reporting obligations
                 under the Code and the regulations thereunder. With respect to the Bank’s tax reporting obligations
                 under the Code, the Foreign Account Tax Compliance Act and the Foreign Investment in Real
                 Property Tax Act and any other applicable law or regulation, the Pledgor and the Secured Party
                 understand, that, in the event valid U.S. tax forms or other required supporting documentation are
                 not provided to the Bank, the Bank may be required to withhold tax from the assets in the Accounts
                 and report account information on any earnings, proceeds or distributions from the assets in the
                 Accounts.

                         (c)      Should the Bank become liable for the payment of taxes, including withholding
                 taxes relating to any funds, including interest and penalties thereon, held by it pursuant to this
                 Agreement or any payment made hereunder, the Pledgor agrees to indemnify and hold the Bank
                 harmless pursuant to Section 7(b) hereof from any liability or obligation on account of taxes,
                 assessments, interest, penalties, expenses and other governmental charges that may be assessed or
                 asserted against the Bank, provided that such liability shall not be satisfied by assets in the
                 Accounts. If the Pledgor fails to indemnify the Bank for such taxes, the Bank will notify the Secured
                 Party.

                       (d)      The Bank’s rights under this Section 5 shall survive the termination of this
                 Agreement or the resignation or removal of the Bank.

                          6.      Concerning the Bank.

                           (a)     Bank Duties. Each of the Pledgor and the Secured Party acknowledges and agrees
                 that (i) the duties, responsibilities and obligations of the Bank shall be limited to those expressly
                 set forth in this Agreement, each of which is administrative or ministerial (and shall not be
                 construed to be fiduciary in nature), and no duties, responsibilities or obligations shall be inferred
                 or implied, (ii) the Bank shall not be responsible for any of the agreements referred to or described
                 herein (including, without limitation, the Grant Agreement and any defined term therein not
                 otherwise defined in this Agreement), or for determining or compelling compliance therewith, and
                 shall not otherwise be bound thereby, and (iii) the Bank shall not be required to expend or risk any
                 of its own funds to satisfy payments from the Accounts hereunder.

                          (b)     Liability of Bank. The Bank shall not be liable for any damage, loss or injury



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                 resulting from any action taken or omitted in the absence of gross negligence or willful misconduct
                 (as finally adjudicated by a court of competent jurisdiction). In no event shall the Bank be liable
                 for indirect, incidental, consequential, punitive or special losses or damages (including but not
                 limited to lost profits), regardless of the form of action and whether or not any such losses or
                 damages were foreseeable or contemplated. The Bank shall be entitled to rely upon any instruction,
                 notice, request or other instrument delivered to it without being required to determine the
                 authenticity or validity thereof, or the truth or accuracy of any information stated therein. The Bank
                 may act in reliance upon any signature believed by it to be genuine (including any signature affixed
                 by DocuSign) and may assume that any person purporting to make any statement, execute any
                 document, or send any instruction in connection with the provisions hereof has been duly
                 authorized to do so. The Bank may consult with counsel satisfactory to it, and the opinion or advice
                 of such counsel shall be full and complete authorization and protection in respect of any action
                 taken, suffered or omitted by it in good faith and in accordance with the opinion and advice of such
                 counsel. The Bank may perform any and all of its duties through its agents, representatives,
                 attorneys, custodians and/or nominees. The Bank shall not incur any liability for not performing
                 any act or fulfilling any obligation hereunder by reason of any occurrence beyond its control
                 (including, without limitation, any provision of any present or future law or regulation or any act
                 of any governmental authority, any act of God or war or terrorism, or the unavailability of the
                 Federal Reserve Bank wire services or any electronic communication facility).

                          (c)    Reliance on Orders. The Bank is authorized to comply with final orders issued or
                 process entered by any court with respect to the assets in the Accounts, without determination by
                 the Bank of such court's jurisdiction in the matter. If any portion of the assets in the Accounts are
                 at any time attached, garnished or levied upon under any court order, or in case the payment,
                 assignment, transfer, conveyance or delivery of any such property shall be stayed or enjoined by
                 any court order, or in case any order, judgment or decree shall be made or entered by any court
                 affecting such property or any part thereof, then and in any such event, the Bank is authorized to
                 rely upon and comply with any such order, writ, judgment or decree which it is advised is binding
                 upon it without the need for appeal or other action; and if the Bank complies with any such order,
                 writ, judgment or decree, it shall not be liable to the Pledgor or the Secured Party or to any other
                 person or entity by reason of such compliance even though such order, writ, judgment or decree
                 may be subsequently reversed, modified, annulled, set aside or vacated.

                          (d)      Erroneous Payments. If the Bank releases any funds (including but not limited to
                 the assets in the Accounts or any portion of it) to the Pledgor or the Secured Party and subsequently
                 determines (in its absolute discretion) that the payment (or any portion of it) was made in error, the
                 Pledgor or the Secured Party, as applicable, shall upon notice promptly refund the erroneous
                 payment, and none of the obligations of the Pledgor or the Secured Party, as applicable, or the
                 remedies of the Bank will be affected by any act, omission, matter or thing (including, without
                 limitation, any obligation pursuant to which an erroneous payment is made) which, but for this
                 provision, would reduce, release, preclude or prejudice any such obligation or remedy (whether or
                 not known by the Bank, the Pledgor or the Secured Party). Each of the Pledgor and the Secured
                 Party agrees not to assert discharge for value, bona fide payee, or any similar doctrine as a defense
                 to recovery of any erroneous payment by the Bank.

                          7.      Compensation, Expense Reimbursement and Indemnification.

                          (a)     Compensation. The Bank’s compensation shall be as specified in Schedule A.




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                          (b)      Indemnification. The Pledgor covenants and agrees to indemnify the Bank and its
                 employees, officers, directors, affiliates, and agents (each, an “Indemnified Party”) for, hold
                 each Indemnified Party harmless from, and defend each Indemnified Party against, any and all
                 claims, losses, actions, liabilities, costs, damages and expenses of any nature incurred by any
                 Indemnified Party, arising out of or in connection with this Agreement or with the administration
                 of its duties hereunder, including, but not limited to, attorney’s fees, costs and expenses, except to
                 the extent such loss, liability, damage, cost or expense shall have been finally adjudicated by a
                 court of competent jurisdiction to have resulted solely from the Indemnified Party's own gross
                 negligence or willful misconduct, provided that such liability shall not be satisfied by assets in the
                 Accounts. The foregoing indemnification and agreement to hold harmless shall survive the
                 termination of this Agreement and the resignation or removal of the Bank. If the Pledgor fails to
                 indemnify the Bank pursuant to this Section 7(b), the Bank shall notify the Secured Party.

                         8.        Statements, Confirmations and Notices of Adverse Claims. The Bank will send
                 copies of all statements and confirmations for the Accounts simultaneously to the Pledgor and the
                 Secured Party. The Bank shall be deemed to have delivered statements and confirmations if such
                 statements and confirmations are available on one or more of the Bank systems to deliver electronic
                 media. The Bank will use reasonable efforts promptly to notify the Secured Party and the Pledgor
                 if any other person claims that it has a property interest in the Accounts or any financial asset in
                 the Accounts.

                          9.      Entire Agreement; Exclusive Benefit. This Agreement constitutes the entire
                 agreement between the parties and sets forth in its entirety the obligations and duties of the Bank
                 with respect to the assets in the Accounts. This Agreement is for the exclusive benefit of the parties
                 to this Agreement and their respective permitted successors, and shall not be deemed to give, either
                 expressly or implicitly, any legal or equitable right, remedy, or claim to any other entity or person
                 whatsoever. No party may assign any of its rights or obligations under this Agreement without the
                 prior written consent of the other parties.

                        10.     Resignation and Removal. The Bank may be removed only by the U.S.
                 Department of the Treasury.

                          11.     Governing Law. This Agreement is governed by and shall be construed and
                 interpreted in accordance with federal law of the United States, except where there is no applicable
                 federal law, in accordance with the laws of the State of New York, without giving effect to the
                 conflict of laws principles thereof.

                          12.     Representations and Warranties.

                          (a)      Each of the Pledgor and the Secured Party represents and warrants that it has full
                 power and authority to execute and deliver this Agreement and to perform its obligations hereunder;
                 and this Agreement has been duly approved by all necessary action and constitutes its valid and
                 binding agreement enforceable in accordance with its terms, except as may be limited by applicable
                 bankruptcy, insolvency, moratorium, reorganization or other similar laws affecting the enforcement
                 of creditors’ rights and subject to general equity principles.

                          (b)     Each of the Pledgor and the Secured Party represents that neither it nor any of its
                 parents or subsidiaries, or any of their respective directors, officers, or employees, or to the
                 knowledge of the Pledgor and the Secured Party, the affiliates of the Pledgor, the Secured Party or
                 any of its subsidiaries, will, directly or indirectly, use any part of any proceeds or lend, contribute,



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                 or otherwise make available such assets in the Accounts in any manner that would result in a
                 violation by any person of economic, trade, or financial sanctions, requirements, or embargoes
                 imposed, administered, or enforced from time to time by the United States (including, without
                 limitation, the Office of Foreign Assets Control of the U.S. Department of the Treasury and the
                 U.S. Department of State), the United Kingdom (including, without limitation, His Majesty’s
                 Treasury), the European Union and any EU member state, the United Nations Security Council,
                 and any other relevant sanctions authority.

                          13.     Notices; Instructions.

                          (a)      Any notice or instruction hereunder shall be in writing in English, and may be sent
                 by (i) secure file transfer or (ii) electronic mail with a scanned attachment thereto of an executed
                 notice or instruction, and shall be effective upon actual receipt by the Bank in accordance with the
                 terms hereof. Any notice or instruction must be executed (which execution may be manual or
                 affixed by DocuSign) by an authorized person of the Pledgor or the Secured Party, as applicable
                 (the person(s) so designated from time to time, the “Authorized Persons”). Each of the applicable
                 persons designated on Schedule B and Schedule C attached hereto have been duly appointed to act
                 as Authorized Persons hereunder and individually have full power and authority to execute any
                 notices or instructions, to amend, modify or waive any provisions of this Agreement, and to take
                 any and all other actions permitted under this Agreement, all without further consent or direction
                 from, or notice to, it or any other party. Any notice or instruction must be originated from a
                 corporate or government domain. Any change in designation of Authorized Persons shall be
                 provided by written notice, signed by an Authorized Person, and actually received and
                 acknowledged by the Bank. Any communication from the Bank that the Bank deems to contain
                 confidential, proprietary, and/or sensitive information shall be encrypted in accordance with the
                 Bank’s internal procedures.

                          (b)      Each of the Pledgor and the Secured Party understands and agrees that the Bank
                 cannot determine the identity of the actual sender of any notice or instruction and that the Bank
                 shall be entitled to conclusively presume that notices or instructions that purport to have been sent
                 by an Authorized Person have been sent by such Authorized Person. Each of the Pledgor and the
                 Secured Party agrees: (i) to assume all risks arising out of the use of electronic means (including
                 electronic mail, secure file transfer or such other method or system specified by the Bank as
                 available for use in connection with its services hereunder) to submit instructions to the Bank,
                 including, without limitation, the risk of the Bank acting on unauthorized instructions, and the risk
                 of interception or misuse by third parties; (ii) that it is fully informed of the protections and risks
                 associated with the various methods of transmitting instructions to the Bank and that there may be
                 more secure methods of transmitting instructions than the method(s) selected by the Pledgor and
                 the Secured Party, as applicable; (iii) that the security procedures (if any) to be followed in
                 connection with its transmission of instructions provide to it a commercially reasonable degree of
                 protection in light of its particular needs and circumstances; and (iv) to notify the Bank immediately
                 upon learning of any compromise or unauthorized use of the security procedures. The Pledgor and
                 the Secured Party agree that the security procedures set forth in Section 13(a) and this Section 13(b)
                 are commercially reasonable.

                          If to the Pledgor:
                          As provided in Addendum 1

                          If to the Secured Party:
                          The Office of the Greenhouse Gas Reduction Fund,



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                          United States Environmental Protection Agency
                          Attention: David Widawsky
                          Telephone:
                          E-mail:

                          If to the Bank:
                          Citibank, N.A.
                          Agency & Trust
                          388 Greenwich Street
                          New York, NY 10013
                          Attn.: Nerlie Delly
                          Telephone:
                          E-mail:

                         14.    Amendment; Waiver. Any amendment of this Agreement shall be binding only
                  if evidenced by a writing signed by each of the parties to this Agreement. No waiver of any
                  provision hereof shall be effective unless expressed in writing and signed by the party to be
                  charged.

                         15.      Severability. The invalidity, illegality or unenforceability of any provision of
                 this Agreement shall in no way affect the validity, legality or enforceability of any other provision.
                 If any provision of this Agreement is held to be unenforceable as a matter of law, the other
                 provisions shall not be affected thereby and shall remain in full force and effect.

                          16.     Mergers and Conversions. Any corporation or entity into which the Bank may
                 be merged or converted or with which it may be consolidated, or any corporation or entity resulting
                 from any merger, conversion or consolidation to which the Bank will be a party, or any corporation
                 or entity succeeding to the business of the Bank will be the successor of the Bank hereunder without
                 the execution or filing of any paper with any party hereto or any further act on the part of any of
                 the parties hereto except where an instrument of transfer or assignment is required by law to effect
                 such succession, anything herein to the contrary notwithstanding.

                          17.     Termination. This Agreement shall terminate upon receipt by the Bank of notice
                 from the Secured Party that its security interest in such Accounts and all assets therein have
                 terminated. Upon receipt of such notice, the Secured Party shall have no further right to originate
                 instructions with respect to the assets in the Accounts. The Bank shall, upon payment of all
                 outstanding fees and expenses hereunder, promptly forward any amounts held by the Bank in the
                 Accounts to the Pledgor, and the Bank shall be relieved and discharged of any further
                 responsibilities with respect to its duties hereunder.

                         18.     Counterparts. This Agreement may be executed simultaneously in two or more
                 counterparts, any one of which need not contain the signatures of more than one party, but all such
                 counterparts taken together shall constitute one and the same agreement. Signatures on counterparts
                 of this Agreement executed and delivered in electronic format (i.e. “pdf”) or by other electronic
                 means (including DocuSign) shall be deemed original signatures with all rights accruing thereto
                 except in respect to any non-US entity, whereby originals may be required.



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                        IN WITNESS WHEREOF, each of the parties has caused this Agreement to be
                 executed by a duly authorized representative as of the day and year first written above.

                                                               CITIBANK, N.A.,
                                                               as Bank


                                                               By:
                                                                 Name: Nerlie Delly
                                                                 Title: Senior Trust Officer




                                                               Climate United Fund,
                                                               as Pledgor

                                                               By:
                                                                     Name: Elizabeth Bafford
                                                                     Title: President & CEO




                                                               United States Environmental Protection
                                                               Agency


                                                               By:
                                                                              Phillip
                                                                     Name: Philip      K Schindel
                                                                                   Schindel
                                                                     Title: EPA Award Official




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                                                              EXHIBIT A

                                        FORM OF NOTICE OF EXCLUSIVE CONTROL




                 VIA EMAIL:

                 Nerlie Delly
                 Vice President
                 Citibank, N.A.
                 Agency & Trust
                 388 Greenwich Street
                 New York, New York 10013

                 Pursuant to the Account Control Agreement dated November 1, 2024, among Climate United Fund
                 (the “Pledgor”), United States Environmental Protection Agency (the “Secured Party”), and
                 Citibank, N.A. (the “Bank”), we hereby instruct you of the following:

                 The Pledgor and the Secured Party have agreed that the terms and conditions entitled “Deposit
                 Account at Financial Agent” in the Grant Agreement indicate the conditions under which the
                 Secured Party may exercise its right of control herein, and such conditions will be defined as
                 “default” for the purposes of the Account Control Agreement.

                 As required by the Grant Agreement, the Secured Party has issued a written determination and
                 finding that Pledgor has failed to comply with the terms and conditions of the Grant Agreement,
                 and that noncompliance is substantial such that effective performance of the Grant Agreement is
                 materially impaired or there is adequate evidence of waste, fraud, material misrepresentation of
                 eligibility status, or abuse, and that the Secured Party has initiated action under 2 CFR 200.339 to
                 wholly or partly suspend or terminate the Grant Agreement, as authorized in the terms of the Grant
                 Agreement.

                 Therefore, the Secured Party hereby notifies you that (i) a default has occurred and is continuing
                 under the Grant Agreement and (ii) from and after the receipt of this notice until you receive further
                 instruction from Secured Party, you are hereby directed to retain and hold all funds in the Account
                 and not to [invest or] disburse the same to any party whatsoever, other than as instructed by the
                 Secured Party.


                                                             United States Environmental Protection Agency

                                                                    as Secured Party



                                                                    By:
                                                                          Name:
                                                                          Title:
                                                                          Date:



                                                               Exhibit A
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                                                             EXHIBIT B

                                           FORM OF ACCOUNT DIRECTION (NCIF)
                                            Pledgor’s UEI Number:


                 [Date]

                 Citibank, N.A.
                 Agency & Trust
                 388 Greenwich Street
                 New York, NY 10013
                 Attn: Nerlie Delly
                 E-mail:

                 VIA: CitiSFT

                 RE: Account Control Agreement dated November 1, 2024, among Climate United Fund (the
                 “Pledgor”), United States Environmental Protection Agency (the “Secured Party”), and Citibank,
                 N.A. (the “Bank”)

                 Pursuant to Section 2 of the above referenced Account Control Agreement, the Pledgor hereby
                 instructs the Bank to disburse a total amount of $[●] funds as per below and as per the attached
                 upload file named xxx:

                 Check applicable boxes:

                 ( ) Internal Transfer within the Bank (intra-entity).

                 ( ) Internal Transfer within the Bank (inter-entity).

                 ( ) External Transfer outside the Bank (for Predevelopment Activities, Market-Building
                 Activities, and/or Program Administration Activities).

                 ( ) External Transfer outside the Bank (for Financial Assistance Activities).

                 If an Internal Transfer within the Bank (intra-entity), check the following applicable boxes:

                 ( ) Transfer of $[●] across Pledgor’s ‘Budget’ sub-accounts, as defined in the Grant
                 Agreement.

                 ( ) Transfer of $[●] from Pledgor’s ‘Program Income from Operations’ account to Pledgor’s
                 ‘Budget’ sub-account(s), as defined in the Grant Agreement.

                 ( ) Transfer of $[●] from Pledgor’s ‘Reserve’ account to Pledgor’s ‘Program Income from
                 Operations’ account, as defined in the Grant Agreement.

                 ( ) Transfer of $[●] from Pledgor’s ‘Budget’ sub-account(s) or ‘Program Income from
                 Operations’ account to ‘Reserve’ account, as defined in the Grant Agreement. The Pledgor
                 hereby certifies to Secured Party the following in respect of this transfer:




                                                              Exhibit B
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                 “The amount of this expenditure is necessary to execute against the EPA-approved workplan.
                 Financing agreements for identified Qualified Projects necessitating the transfer have been
                 reviewed by Recipient’s counsel for legal sufficiency. This certification is a material
                 representation for the purposes of an EPA Financial Assistance Agreement and knowing and
                 willful false statements may be subject to prosecution under 18 U.S.C. 1001 and other applicable
                 criminal, civil and administrative sanctions”

                 If an Internal Transfer within the Bank (inter-entity), check the following applicable boxes:

                 ( ) Transfer of $[●] from Pledgor’s ‘Budget’ sub-account(s) to ‘Financial Assistance
                 Subrecipient’ as defined in the Grant Agreement.

                 If an External Transfer outside the Bank (for Predevelopment Activities, Market-Building
                 Activities, and/or Program Administration Activities), check one of the following boxes:

                 ( ) Disbursement of $[●] for Predevelopment Activities as defined in the Grant Agreement.

                 ( ) Disbursement of $[●] for Market-Building Activities as defined in the Grant Agreement.

                 ( ) Disbursement of $[●] for Program Administration Activities as defined in the Grant
                 Agreement.

                 If an External Transfer outside the Bank (for Financial Assistance Activities), check the
                 following applicable boxes:

                 ( ) Disbursement of $[●] from Pledgor’s ‘Budget’ sub-account to provide Financial
                 Assistance to Qualified Projects as defined in the Grant Agreement. The Pledgor hereby
                 certifies to Secured Party the following in respect of this transfer:

                 “The amount of this expenditure is necessary to execute against the EPA-approved workplan.
                 Financing agreements for identified Qualified Projects necessitating the transfer have been
                 reviewed by Recipient’s counsel for legal sufficiency. This certification is a material
                 representation for the purposes of an EPA Financial Assistance Agreement and knowing and
                 willful false statements may be subject to prosecution under 18 U.S.C. 1001 and other applicable
                 criminal, civil and administrative sanctions”

                 ( ) Disbursement of $[●] from Pledgor’s ‘Reserve’ account to satisfy a legal obligation to a
                 third party as defined in the Grant Agreement. The Pledgor hereby certifies to Secured
                 Party the following in respect of this transfer:

                 “The amount of this transfer is necessary to execute against the EPA-approved workplan and pay
                 a third party pursuant to a financing agreement that has been reviewed by Recipient’s counsel for
                 legal sufficiency. This certification is a material representation for the purposes of an EPA
                 Financial Assistance Agreement and knowing and willful false statements may be subject to
                 prosecution under 18 U.S.C. 1001 and other applicable criminal, civil and administrative
                 sanctions”

                 Capitalized terms in this instruction letter not otherwise defined shall have the same meaning
                 given to them in the Account Control Agreement.




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                 Signature on this Account Direction executed and delivered in electronic format (i.e. “pdf”) or by
                 other electronic means (including DocuSign) shall be deemed original signatures with all rights
                 accruing thereto.

                 IN WITNESS WHEREOF, the Pledgor has caused this Account Direction to be duly executed
                 and delivered as of the date first written above.

                 Pledgor:


                 __________________

                 Authorized Person




                                                             Exhibit B
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                                                          ADDENDUM 1
                                                     Account Control Agreement


                  Date of Account              November 1, 2024
                  Control Agreement

                  Grant Agreement              Agreement Title: GGRF NCIF: Climate United
                                               (5G – 84094001)
                                               Agreement Date: 8/8/2024
                  Pledgor Notice Details       Attn: Beth Bafford
                                               Address: 7550 Wisconsin Ave, 3rd Floor,
                                               Bethesda, MD 20814
                                               Email:

                  UEI Number
                  Tax Identification
                  Number
                  Citi Deposit                 Bank: CITIBANK, N.A.
                  Instructions                 ABA:
                                               Account Name:
                                               Account Number:
                                               Ref:

                 Money Market Fund Investment Selection

                                Fund Name                            Fund Number                    CUSIP
                  Blackrock                                  TTTXX
                  Treasury Trust Fund (10)
                  Institutional Shares


                 Accounts to Be Established

                        Account Number                          Account Name                     Initial Deposit
                                                                                                    Amount
                                                     CUF Financial Assistance                $1,521,223,698.62
                                                     CUF Predevelopment                      $23,618,778.17
                                                     CUF Market-Building                     $68,560,774.30
                                                     CUF Program Administration              $171,303,020.35
                                                     CUF Other Pass-Through Funding          $3,668,418,776.25
                                                     CUF Reserves                            $0.00
                                                     CUF Program Income from Operations      $0.00

                 CitiVelocity Reporting Entitlements Request:

                 The Pledgor hereby requests that the Bank entitle the following individuals to view-only access to
                 the Bank’s client reporting system for all accounts opened under this Account Control Agreement.



                                                             Addendum 1
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                 Pledgor Client Profile Name: Climate United Fund

                  Name                             Phone Number            Email
                  Beth Bafford
                  Stephanie Seiberg
                  Ann Dobbyn
                  Emmeline Liu
                  Comfort Siodlarz

                 The Pledgor hereby acknowledges that all accounts opened under this Account Control
                 Agreement will be entitled to the Bank’s client reporting system and made available for view-
                 only access to the following Client Profiles and their associated users:

                  Entity                             Client Profile Name
                  Secured Party                      U.S. Environmental Protection Agency

                 CitiSFT Entitlements Request:

                 Citi makes available the Secure File Transfer (CitiSFT) platform for clients to securely upload
                 Account Directions. The Pledgor hereby requests that the Bank entitle the below individuals with
                 upload only access to CitiSFT:

                  Name                      Phone Number       Email                           Maker, Checker,
                                                                                               Maker and Checker
                  Beth Bafford                                                                 Checker
                  Stephanie Seiberg                                                            Checker
                  Ann Dobbyn                                                                   Checker
                  Comfort Siodlarz                                                             Maker

                  Weijie Ma                                                                    Maker
                  Emmeline Liu                                                                 Maker



                 __________________

                 Authorized Signature
                 Elizabeth Bafford

                  EAB




                                                             Addendum 1
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                                                                    SCHEDULE A

                                                            BANK COMPENSATION


                 General compensation

                 For the services described in the Account Control Agreement, the Bank shall charge each Pledgor
                 as follows:
                Agency & Trust Services                                                                             Fees
               Acceptance Fee
               This one-time fee covers the acceptance of the appointment, the review of the
               related Transaction documents submitted in connection with the execution and                                 Waived
               delivery thereof, setting up of internal controls, and communication with other
               members of the working group, as necessary.
               Annual Administration Fee
               To cover the administrative functions of Citi under the Agreement, including
               the establishment and maintenance of the account(s), safekeeping of assets,                                  Waived
               maintenance of the records, execution and administration of the Agreement
               provisions, and other duties required under the terms of the Agreement.
               Wire Fees                                                                                                    Waived
               Legal Fees
               To cover the review of legal documents by Citibank Agency & Trust’s outside
               counsel.                                                                                                     Waived

                 The Transaction documents will be governed in accordance with federal law of the United States, except where there is
                 no applicable federal law, in accordance with the laws of the State of New York, without giving effect to the conflict of
                 laws principles thereof, as established in the Agreement and subject to internal approval and satisfactory review of all
                 documentation. All outgoing payments processed by Citi will be made via wire. Account balances invested in an
                 Institutional Money Market Fund will be chosen by the client from a list of providers that Citi will supply. If invested
                 in a Money Market Fund, fund distributors may provide Citi with Shareholder Servicing fees. These fees are discussed
                 in the fund's prospectus, which will be delivered to the client prior to investment. All of Citi’s responsibilities will be
                 non-discretionary and Citi will not be required to make any advances of its own funds. Therefore, all services provided
                 by Citi must strictly follow the terms stated in the Agreements or in the written instructions of the authorized parties or
                 third parties authorized to send instructions to Citi.

                 In accordance with US regulations regarding anti-money laundering and terrorist financing, Federal law requires Citi to
                 obtain, verify and record information that identifies each business or entity that opens an account or establishes a
                 relationship with Citi. What this means for our clients: when a client opens an account or establishes a relationship, we
                 will ask for the client’s business name, a street address and a tax identification number that Federal law requires us to
                 obtain. In accordance with the Unlawful Internet Gambling Act (the "Act"), Citibank, N.A. accounts or other Citibank,
                 N.A. facilities in the United States may not be used to process "restricted transactions" as such term is defined in U.S.
                 31 CFR Section 132.2(y).




                                                                       Schedule A
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                                                             SCHEDULE B

                                         PLEDGOR AUTHORIZED LIST OF SIGNERS
                                                (to be provided separately)

              Each of the following person(s) is authorized to execute documents and to direct the Bank as to all matters on
     the Pledgor’s behalf. The Bank may confirm the instructions received by return call to any one of the telephone numbers
     listed below.

     PLEDGOR


                                                        Specimen Signature                  DocuSign Specimen
                                                                                            Signature
        Name:
        Title:
        Phone:
        Email:


                                                        Specimen Signature                  DocuSign Specimen
                                                                                            Signature
        Name:
        Title:
        Phone:
        Email:

                                                        Specimen Signature                  DocuSign Specimen
                                                                                            Signature
        Name:
        Title:
        Phone:
        Email:




                                                              Schedule B
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                                                              SCHEDULE C

                                     SECURED PARTY AUTHORIZED LIST OF SIGNERS
                                               (to be provided separately)

                 Each of the following person(s) is authorized to execute documents and to direct the Bank as to all
                 matters on the Secured Party’s behalf. The Bank may confirm the instructions received by return
                 call to any one of the telephone numbers listed below.

                 SECURED PARTY

                                                             Specimen Signature          DocuSign Specimen
                                                                                         Signature
                    Name:
                    Title:
                    Phone:
                    Email:

                                                             Specimen Signature          DocuSign Specimen
                                                                                         Signature
                    Name:
                    Title:
                    Phone:
                    Email:

                                                             Specimen Signature          DocuSign Specimen
                                                                                         Signature
                    Name:
                    Title:
                    Phone:
                    Email:
